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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                       Criminal No. 19-244 (PAM/DTS)

UNITED STATES OF AMERICA,

                    Plaintiff,
                                         GOVERNMENT’S MOTION TO RE-
       v.
                                         OPEN THE RECORD AND ADMIT
                                         ADDITIONAL EVIDENCE
TRAVIS KYLE MAYER,

                    Defendant.

      The United States of America, by and through its attorneys, Erica H.

MacDonald, United States Attorney for the District of Minnesota, and Alexander D.

Chiquoine, Assistant United States Attorney, respectfully requests that the Court re-

open the record for the hearing held on December 5, 2019, for the limited purpose of

admitting the additional evidence described below and attached hereto.

      On December 5, 2019, a hearing was held related to Defendant Travis Mayer’s

Motion to Suppress his jail mail. (See Dkt. 24). Although Mayer bore the burden of

establishing he had a subjectively held and objectively reasonable expectation of

privacy in his jail mail, he initially declined to call any witnesses or present any

evidence. The Government then called Special Agent Dennis Howe, who testified in

relevant part about the Sherburne County Jail’s Inmate Handbook (Exhibit A) and

that Mayer received the Handbook when he was booked into the Jail in April 2019.

      After this testimony Mayer himself took the stand in rebuttal. Mayer did so

despite giving no notice that he, or anyone else, would testify. This was in direct
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violation of this Court’s order [Dkt. 13] and Local Rule 12.1(c)(3)(A). 1        The

Government objected and the Court agreed that it would entertain a future motion

to reopen the record and/or consider additional evidence presented by the

Government.

      In relevant part, Mayer testified that he was not provided with the Inmate

Handbook until August 2019, when he demanded a copy. Mayer introduced two

“kites” (Exhibits 1 and 2) from August 2019 wherein he claimed he was never given

the Handbook, requested a copy, and Jail staff confirmed providing one to him. Mayer

further testified that he had never seen the Inmate Handbook before August, never

spoke with another inmate about it, and never saw another copy of the Handbook.

      Mayer’s testimony is demonstrably false.        Attached is the affidavit of

Investigator Michael Sieg, who works at the Sherburne County Jail.             In it,

Investigator Sieg describes how the Jail’s policies and procedures dictate that

inmates receive a copy of the Inmate Handbook at the time of their booking. (Sieg

Aff. at ¶ 4). Moreover, Jail staff complete an inmate intake form documenting what

Jail materials an inmate is provided, including the Inmate Handbook. (Id. at ¶ 6).

Investigator Sieg confirms that Mayer was in fact given an Inmate Handbook at the

time of his booking, in April 2019, and presents Mayer’s inmate tracking sheet, which

confirms he was provided with the Handbook at that time. (Id. at ¶¶ 5, 7, Ex. J).




1 In response to the Government’s objection, Mayer essentially claimed that he had a
right not to notice any testimony or evidence, even in the context of a suppression
hearing. The Government can find no support for this position and disputes it as a
matter of law.
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Finally, Investigator Sieg makes clear that the Inmate Handbook is widely available

to inmates at the Jail, including in kiosks in common areas where inmates are free

to take copies as they please. (Id. at ¶8).

      Investigator Sieg’s affidavit and Mayer’s Inmate tracking sheet are highly

relevant and admissible.     The primary issue in Mayer’s Motion to Suppress is

whether he had a subjectively held and objectively reasonable expectation of privacy

in his jail mail. As previously detailed by the Government, the Inmate Handbook

makes clear that inmate mail is subject to monitoring and review. The fact that

Mayer was provided with a copy of the Handbook at his booking goes directly to

whether he had a subjectively held, let alone objectively reasonable, expectation of

privacy.      This evidence also directly contradicts Mayer’s self-serving, and

demonstrably false, testimony and evidence to the contrary.

      No prejudice will result from admitting this evidence.          Mayer created a

situation wherein he bore the burden of proof, but declined to try and meet that

burden until after the Government present its case, then did so in a way that violated

a Court order and the Local Rules. The Government properly objected and the Court

agreed to consider re-opening the record and/or considering additional evidence. 2



2  Holding a new hearing is unnecessary. Investigator Sieg’s affidavit is self-
explanatory and complete, as well as limited in scope. Mayer’s inmate tracking sheet
(Exhibit J) is a business record of the Jail and thus self-authenticating, in addition to
being authenticated by Investigator Sieg’s affidavit. This evidence is especially
admissible under the relaxed standards for suppression hearings. See United States
v. Raddatz, 447 U.S. 667, 679 (1980); United States v. Matlock, 415 U.S. 164, 172–73
(1974). However, should the Court conclude that this evidence is inadmissible
without witness testimony, the Government respectfully requests that it set a new
hearing date whereat such testimony will be presented.
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Mayer then elected to perjure himself in his testimony. The Government could not

have anticipated this series of events and therefore was not prepared to present the

evidence contained in Investigator Sieg’s affidavit, or Mayer’s inmate tracking sheet.

Under these circumstances, the only prejudice would be to the Government if the

Court refused to accept its offered evidence.

      Therefore, the United States respectfully requests that the Court re-open the

record and admit the evidenced attached hereto.




Dated: December 13, 2019                        Respectfully Submitted,

                                                ERICA H. MacDONALD
                                                United States Attorney

                                                /s/ Alexander Chiquoine

                                        BY:     ALEXANDER D. CHIQUOINE
                                                Assistant U.S. Attorney
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